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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION



IN RE THE SOUTHERN                 Lead Case No.: 1:17-cv-00725-MHC
COMPANY SHAREHOLDER
DERIVATIVE LITIGATION              (Consolidated with No.:1:17-cv-01983-MHC)
                                   (Derivative Action)

This Document Relates To:          Judge Mark H. Cohen


         ALL ACTIONS.




            CONSENT ORDER CONTINUING DEFERRAL
                             OF LITIGATION
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      WHEREAS, the above-captioned consolidated shareholder derivative action


("Consolidated Derivative Action") was filed in this Court by plaintiffs Jean Vinyard


and Judy Mesirov ("Plaintiffs")1 against the Individual Defendants,2 current and


former directors and officers of nominal defendant The Southern Company


("Southern Company" or the "Company") or its subsidiary, Mississippi Power


Company ("MPC") (Southern Company, together with the Individual Defendants,


are collectively referred to herein as "Defendants," and Plaintiffs and Defendants are


collectively referred to herein as the "Parties");


      WHEREAS, a class action alleging violations of the federal securities laws


filed against Southern Company and certain of its or MPC's current and former


officers was also filed and is pending in this Court: Monroe Cty. Emps. ' Ret. Sys. v.


The Southern Co., et al., Case No. 1:17-cv-00241-MHC (the "Securities Class


Action");


      WHEREAS, on March 27, 2017, pursuant to a proposed consent order filed


by the Parties (Dkt. 30), this Court entered a Consent Order Deferring Litigation and



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    On June 26, 2017, the Court entered an order consolidating the action styled
Mesirov v. Fanning, et al., Case No 1: 17-cv-01983-MHC, whicli was filed on May
31, 2017, with the first-filed action styled Vinyardv. Fanning et al., Case No. l-17-
cv-00725-MHC.

2 The "Individual Defendants" include Thomas A. Fanning, Arthur P. Beattie,
Edward Day, VI, G. Edison Holland, Jr., Juanita Powell Baranco, Jon A. Boscia,
Henry A. Clark, III David J. Grain, Veronica M. Hagen, Warren A. Hood, Jr., Linda
                  ;
P. Hudson, Donato M. James, John D. Johns, Dale E. Klein, William G. Smith, Jr.,
Steven R. Specker, Lawrence D. Thompson, and E. Jenner Wood, III.
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Appointing Lead Counsel (Dkt. 31) ("Consent Order"), which, among other things,

deferred the Consolidated Derivative Action pending a ruling on defendants' motion

to dismiss in the Securities Class Action;

      WHEREAS, per the terms of the Consent Order, "within thirty (30) days of

the ruling on defendants' []motion to dismiss the Securities Class Action, the Parties

shall meet and confer concerning a schedule for further proceedings in the

[Consolidated] Derivative Action and advise the Court accordingly[]";

      WHEREAS, on March 29, 2018, the Court entered an order in the Securities

Class Action granting in part and denying in part defendants' motion to dismiss

("Order on Motion to Dismiss");

      WHEREAS, the Parties have met and conferred following the entry of the

Order on Motion to Dismiss and agree that in the circumstances unique to this

Consolidated Derivative Action, the interests of preserving the Company's and the

Court's resources, efficient and effective case management, and moving the case

expeditiously towards trial would best be served by continuing to defer this matter

until the earlier of (i) an order from the Court on any summary judgment motions

that may be filed in the Securities Class Action, or (ii) notification that there has

been a settlement reached in the Securities Class Action, or until otherwise agreed

to by the Parties;


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      WHEREAS, the Parties agree that at any time during which the prosecution

of this Consolidated Derivative Action is deferred pursuant to this Order, any Party

may file a motion with the Court seeking to modify the terms of the Order, which

may be opposed by any other Party; and

      WHEREFORE, the Parties, through their undersigned counsel, hereby agree,

stipulate, and respectfully request that the Court enter an Order as follows:

      I.     The Consolidated Derivative Action shall be deferred through the

earlier of (i) an order from the Court on any summary judgment motions that may

be filed in the Securities Class Action, or (ii) notification that there has been a

settlement reached in the Securities Class Action, or until otherwise agreed to by the

Parties. At any time during which the prosecution of this Consolidated Derivative

Action is deferred pursuant to this Order, any Party may file a motion with the Court

seeking to modify the terms of the Order, which may be opposed by any other Party.

      2.     Within thirty (30) days of a ruling on any summary judgment motions

that may be filed in the Securities Class Action, or notification that there has been a

settlement reached in the Securities Class Action, whichever is earlier, the Parties

shall meet and confer concerning a schedule for further proceedings in the

Consolidated Derivative Action and advise the Court accordingly.




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      3.        Notwithstanding the deferral of the Consolidated Derivative Action,


Plaintiffs shall be permitted to file a consolidated complaint during the pendency of


the deferral.     Defendants shall be under no obligation to respond to any such


complaint while the Consolidated Derivative Action is deferred, unless otherwise


ordered by the Court.


      4.        Subject to the performance of the terms and conditions set forth in


paragraph 7, as long as the Consolidated Derivative Action remains deferred,


Defendants agree to provide Plaintiffs with copies of the written discovery responses


and documents produced by defendants in the Securities Class Action, or in any


related derivative action, or any related action or demand initiated pursuant to 8 Del.


C. § 220 (collectively, "Related Actions"), including, without limitation, expert


discovery, as well as       any written   agreements regarding discovery between


defendants and the plaintiffs in the Securities Class Action or in any Related Actions.


      5.        Subject to the performance of the terms and conditions set forth in


paragraph 7, the Parties also agree that Defendants will provide Plaintiffs with the


written discovery responses and the documents produced in the Securities Class


Action, or in any Related Actions, by any other party or any non-party that have not


been designated confidential by the producing party or non-party (in whole or in


part) under any confidentiality agreement or order filed in the Securities Class



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Action or in any Related Actions. If a producing party (other than defendants in the


Securities Class Action) or non-party does elect to designate as confidential under


any confidentiality agreement or order filed in the Securities Class Action or in any


Related Actions (i) any of the documents he, she or it produces or (ii) any of his, her,


or its written discovery responses, then defendants in the Securities Class Action


shall request of each such party or non-party permission to provide such information


to Plaintiffs pursuant to the terms of any confidentiality agreement or order


governing the documents produced in the Securities Class Action or in any Related


Actions. If the producing party or non-party objects, then counsel for Defendants


shall inform Plaintiffs that defendants in the Securities Class Action are not able to


produce to Plaintiffs documents or written discovery response(s) from a particular


party or non-party. Notwithstanding the foregoing, Plaintiffs reserve their rights to


seek any such documents in the Consolidated Derivative Action, which Defendants


will not oppose.


      6.     Subject to the performance of the terms and conditions set forth in


paragraph 7, with regard to depositions taken in the Securities Class Action or in any


Related Actions, Defendants shall provide Plaintiffs with court reporter contact


information within five (5) business days of any deposition so that Plaintiffs may


request copies of deposition transcripts and/or any video and/or audio recordings of



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such depositions. Defendants will not oppose such requests for transcripts (or any


portions thereof) that have been designated as confidential by Defendants under any


confidentiality agreement or order governing the documents produced in the


Securities Class Action or in any Related Actions.


      7.     Plaintiffs acknowledge that their right to receive documents, written


discovery responses, and the information described above is contingent upon their


agreement to be bound by any reasonable confidentiality agreement or order


governing the documents produced in the Securities Class Action or in any Related


Actions, with the express understanding that Plaintiffs shall be entitled to use any


such documents produced to them in the Consolidated Derivative Action.             If


Plaintiffs cannot become a party to any confidentiality agreement or order entered


in the Securities Class Action or in any Related Actions, they agree that they will


enter into a separate agreement with Defendants acknowledging their agreement to


be bound by the terms of the confidentiality agreement or order entered in the


Securities Class Action or in any Related Actions, with the express understanding


that Plaintiffs shall be entitled to use any such documents produced to them in the


Consolidated Derivative Action.


      8.     If there is a mediation or any formal settlement meeting to resolve the


claims asserted in the Securities Class Action, or in any related shareholder action,



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demand or other proceeding, whether direct or derivative, Defendants will invite


Plaintiffs to participate in any such mediation or formal settlement meetings.


Notification to Plaintiffs of the setting of such mediation(s) or meeting(s) shall be


sufficient to permit Plaintiffs' counsel's attendance. Plaintiffs shall use good faith


efforts to work out mutually agreeable terms with the other parties to the


mediation(s) or meeting(s) for   (i)   their participation in any such mediation(s) or


meeting(s) and (ii) the sharing of any expenses of such mediation(s) or meeting(s).


If Plaintiffs cannot reach agreement in regard to items (i) and (ii) in the preceding


sentence, then Defendants will agree to mediate with Plaintiffs in regard to the


derivative claims on a date close to the mediation in the Securities Class Action, or


in any related shareholder action, demand or other proceeding, whether direct or


derivative.


         9.   This Order shall apply to each purported derivative action arising out


of the same or substantially the same transactions or events as the Consolidated


Derivative Action, which is subsequently filed in, removed to, or transferred to this


Court.


         IT IS SO AGREED.

Dated: April 23, 2018
                                           Respectfully submitted,

                                           JOHNSON FISTEL, LLP

                                           Isl Michael I Fistel Jr.
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SO ORDERED this   25'1*       day   of�       ,   2018 .




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                                THE HONORABLE MARK H. COHEN
                                UNITED STATES DISTRICT JUDGE




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